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                  IN THE UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT


CITY AND COUNTY OF SAN FRANCISCO,

          Plaintiff-Appellee,

v.

XAVIER BECERRA, Secretary of U.S.                               No. 20-15398
Department of Health and Human Services; et
al.,1

          Defendants-Appellants.


COUNTY OF SANTA CLARA; et al.,

          Plaintiffs-Appellees,

v.
                                                                No. 20-15399
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and XAVIER BECERRA,
in his official capacity as Secretary of Health and
Human Services,

          Defendants-Appellants.




      1
        Secretary Becerra has been automatically substituted for Acting Secretary
Norris Cochran pursuant to Federal Rule of Appellate Procedure 43(c)(2). Secretary
Becerra is recused from this litigation.
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 STATE OF CALIFORNIA,

       Plaintiff-Appellee,

 v.                                                             No. 20-16045

 XAVIER BECERRA, in his official capacity as
 Secretary of the U.S Department of Health &
 Human Services, and U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,

       Defendants-Appellants.


 STATE OF WASHINGTON,

       Plaintiff-Appellee,

 v.                                                             No. 20-35044

 XAVIER BECERRA and U.S. DEPARTMENT
 OF HEALTH AND HUMAN SERVICES,

       Defendants-Appellants.



             STATUS REPORT PURSUANT TO THE COURT’S
                     ORDER OF OCTOBER 7, 2022

      This case involves a challenge to a rule issued by the Department of Health and

Human Services (HHS). Two district courts in this Circuit vacated the rule in its

entirety, and the government appealed. As we have previously informed the Court,

HHS is conducting a new rulemaking proceeding to revisit the rule at issue in these

appeals. HHS has received comments on its notice of proposed rulemaking and is


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now in the process of reviewing the comments and preparing a final rule.

Accordingly, the federal government respectfully requests that this case continue to be

held in abeyance, with the parties to file motions to govern further proceedings at the

end of six months, or 30 days after a final rule issues, whichever is sooner. Counsel

for plaintiffs has indicated that plaintiffs do not oppose this request.

       1. These consolidated appeals concern the validity of a final rule that HHS

promulgated in 2019. The rule, entitled Protecting Statutory Conscience Rights in

Health Care, 84 Fed. Reg. 23,170 (May 21, 2019), implicates various federal statutes

that protect individuals and other entities with religious or moral objections to

providing certain health-care-related services in connection with government-

provided or government-funded health care programs. In these appeals, the federal

government sought review of decisions in which two district courts—one in the

Eastern District of Washington and one in the Northern District of California—

vacated the rule.

       2. After the consolidated appeals were fully briefed, the Court scheduled oral

argument for February 8, 2021. The parties to the appeals subsequently filed a joint

motion to remove the appeals from the oral argument calendar and place the appeals

in abeyance, explaining that new leadership at HHS planned to reassess the issues that

the cases present. The Court granted the parties’ joint motion on January 29, 2021,

removing the cases from the February 8 argument calendar and directing the parties



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to “provide the Court within sixty days a status report as to whether the appeal will

continue to be prosecuted.”

       The federal government has filed periodic status reports pursuant to that order

and subsequent orders of the Court. In its most recent status report, filed on October

3, 2022, the government stated that HHS had submitted a draft notice of proposed

rulemaking to the Office of Information and Regulatory Affairs (OIRA) within the

Office of Management and Budget for review and approval. The government

requested that the appeal be held in abeyance for six months, or until 30 days after a

final rule issued, whichever was sooner. This Court granted the request and directed

in its October 7, 2022, order that the parties provide another report at the end of that

period as to the status of the rulemaking process.

       On January 5, 2023, the federal government filed a letter notifying the Court

that a notice of proposed rulemaking revisiting the rule at issue in these appeals had

been published in the Federal Register. See Safeguarding the Rights of Conscience as

Protected by Federal Statutes, 88 Fed. Reg. 820 (Jan. 5, 2023).

       3. The period for public comment on the proposed rule closed on March 6,

2023. See 88 Fed. Reg. at 820. HHS is now in the process of reviewing the tens of

thousands of comments that it received regarding the proposed rule and is working

toward issuance of a final rule. See Regulations.gov, Safeguarding the Rights of Conscience

as Protected by Federal Statutes, https://www.regulations.gov/document/HHS-OCR-



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2023-0001-0001 (last visited Apr. 3, 2023) (rulemaking docket). Once HHS has

completed a draft final rule, it will submit the draft to OIRA for approval.

       4. As the government previously explained, the rulemaking that HHS is in the

midst of conducting may moot this matter and eliminate the need for this Court to

resolve the merits of the appeals. In these circumstances, the Court should continue

to hold the case in abeyance while HHS completes its rulemaking proceeding. See, e.g.,

Ohio Forestry Ass’n v. Sierra Club, 523 U.S. 726, 735-36 (1998) (“[F]rom the agency’s

perspective, immediate judicial review . . . could hinder agency efforts to refine its

policies” and “interfere with the system that Congress specified for the agency to

reach forest logging decisions”); American Petroleum Inst. v. EPA, 683 F.3d 382, 387-89

(D.C. Cir. 2012) (concluding that judicial review should be deferred while an agency

conducted a rulemaking proceeding). Since the 2019 rule has been vacated in its

entirety and nationwide, moreover, deferring review would inflict no hardship on

plaintiffs. See American Petroleum, 683 F.3d at 389-90.

       5. We therefore respectfully ask that the appeals remain in abeyance for an

additional period of six months, or until thirty days after the issuance of a final rule,

whichever is sooner. We respectfully request that, at the end of that period, the

parties be permitted to file motions to govern further proceedings. Depending on the

status of the rulemaking process, the parties could seek to have the abeyance extended

for an additional period, to set a new briefing schedule, or otherwise to dispose of

these appeals.
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                                           Respectfully submitted,

                                           MICHAEL RAAB
                                           LOWELL V. STURGILL JR.

                                            /s/ Sarah Carroll
                                           SARAH CARROLL
                                           LEIF OVERVOLD
                                             Attorneys, Appellate Staff
                                             Civil Division, Room 7511
                                             U.S. Department of Justice
                                             950 Pennsylvania Ave., N.W.
                                             Washington, D.C. 20530
                                             (202) 514-4027
                                             sarah.w.carroll@usdoj.gov




APRIL 2023




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